                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO




 MARK CHANGIZI, et al.,


 Plaintiffs,
                                                            CASE NO: 2:22-cv-1776
 v.

 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES, et al.,

 Defendants.




          REPLY TO DEFENDANTS’ RESPONSE TO MOTION FOR RELIEF FROM
                      JUDGMENT UNDER FED. R. CIV. P. 60(b)

           Plaintiffs respectfully submit this reply to Defendants’ opposition (ECF No. 48) (“Def. Opp.”)

to Plaintiffs’ motion for relief from judgment pursuant to Rule 60(b) requesting that the Court

reinstate this case to its docket (ECF No. 42) (the “Motion”).

                                                  ARGUMENT

           Defendants’ claim that Plaintiffs have not satisfied the requirements of Rule 60(b) is without

merit. First, Defendants rely on the spurious contention that this Court lacks jurisdiction to consider

the motion, and so it should be denied. But Defendants fail to address the plethora of case law, not

to mention the federal rules, endowing the Court with authority to consider the motion and convey its

intended ruling to the Court of Appeals. Defendants argue in the alternative that Plaintiffs’ new

evidence, which they fail to address in any meaningful way, is insufficient for purposes of Rule 60(b)

relief.


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        I.      The Court Should Consider Plaintiffs’ Motion

        Defendants’ contention that the Court lacks authority to entertain the Motion is wrong and

misconstrues the governing legal authority. Defendants ignore the substantial body of law that

instructs district courts, in circumstances such as these, to consider a Rule 60(b) Motion and convey its

intended ruling to the Court of Appeals.

        Typically, the filing of a notice of appeal “confer[s] jurisdiction to the court of appeals and

divests the district court of its control over those aspects of the case involved in the appeal.” Griggs v.

Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982). However, under the Federal Rules of Appellate

Procedure, a notice of appeal that is filed while a Rule 60(b) motion remains outstanding in the district

court “becomes effective” only after that motion is resolved. Fed. R. App. P. 4(a)(4)(B)(i); see also Stone

v. I.N.S., 514 U.S. 386, 402-403 (1995) (district courts retain jurisdiction to adjudicate certain post-

judgment motions, including those filed under Rule 60(b)). The rules are clear that a Rule 60(b)

motion made while an appeal is pending must be filed in the district court, rather than the court of

appeals. See Morse v. McWhorter, 290 F.3d 795, 799 (6th Cir. 2002) (dismissing Rule 60(b) motion made

directly to court of appeals on the ground that motion was not first filed in the district court).

        Indeed, according to the Advisory Committee notes on the 1993 amendment to FRAP 4(a)(4),

a “notice [of appeal] filed … after the filing of a motion [including a Rule 60(b) motion] but before

disposition of the motion is, in effect, suspended until the motion is disposed of”—and it is only

thereafter that “the previously filed notice effectively places jurisdiction in the court of appeals.” Fed.

R. App. P. 4(a)(4) Advisory Committee Notes (1993); see also Craig v. Mackie, No. 2:17-CV-12830, 2021

WL 608738, at *2 (E.D. Mich. Jan. 29, 2021) (“Where a notice of appeal is filed before the [District]

Court decides a timely Rule 60(b) motion, ‘the notice becomes effective to appeal a judgment or order,

in whole or in part, when the order disposing of the last such remaining motion is entered.’”).




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        Thus, contrary to Defendants’ contention, the district court is not wholly divested of the ability

to consider or decide a Rule 60(b) motion (to be contrasted with granting the Motion) after filing of a

notice of appeal. See Pickens v. Howes, 549 F.3d 377, 383 (6th Cir. 2008) (“the Sixth Circuit has set forth

specific procedures for a district court that wishes to intervene after a case has been appealed … if the

district judge believes there should be relief from the judgment, the district court is to indicate that it

would grant the motion”; internal citations and quotation marks omitted); First National Bank of Salem,

Ohio v. Hirsch, 535 F.2d 343 (6th Cir. 1976) (“If the district judge is disposed to grant the motion, he

may enter an order so indicating and the party may then file a motion to remand in [the appellate

court]”). Even if the district court is without jurisdiction to grant a Rule 60(b) motion, “it must as an

initial matter entertain it and make a request to the court of appeals.” See Pickens, 549 F.3d at 384

(citing LSJ Inv. Co., Inc. v. O.L.D., Inc., 167 F.3d 320, 324 (6th Cir. 1999) (“[A] lower court may entertain

a motion for relief from judgment filed during the pendency of an appeal.”)); Dobrowiak v. Convenient

Family Dentistry, Inc., No. 04-73495, 2008 WL 450474, at * 1 n. 2 (E.D. Mich. Feb.15, 2008) (“[T]he

Sixth Circuit has recognized that district courts have at least some discretion to entertain a motion for

relief from judgment notwithstanding a pending appeal.”); Reeves v. Jensen, No. 5:04-cv-194, 2007 WL

2381942, at *1 (W.D. Mich. Aug.17, 2007) (“Notwithstanding this court’s lack of jurisdiction to rule

on plaintiff’s motion, case law indicates that it would be proper for the court to indicate whether it

would be inclined to grant the motion.”). Such an “indication” then informs the decision of the Court

of Appeals. This Court must therefore resolve the matter by acting on the Motion.

        Notably, Defendants cite only three cases to support their argument that this Court lacks

jurisdiction to rule on Plaintiffs’ Motion, two of which were decided in 1988—prior to the 1993

amendment of FRAP 4(a)(4), as discussed above. See Def. Opp., ECF No. 48, at 6-7 (citing Agristor

Leasing v. Hermitage Harvistore Sys., Inc., 849 F.2d 608 (6th Cir. 1988) and Smith v. Combustion Eng’g, Inc.,

843 F.2d 1392 (6th Cir. 1988)). Thus, those cases have been effectively superseded by the amendment

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and are no longer controlling law. Defendants’ third case, Pickens, expressly provides for the district

court to consider the motion and signal an intent to grant it to the Court of Appeals, as discussed.1

        In sum, a litigant faced with an unfavorable district court judgment must file a Rule 60(b)

motion with the district court while appealing that judgment within the time allotted by Federal Rule

of Appellate Procedure 4 (in this case, 60 days from the order of dismissal), whether or not the litigant

first files a Rule 60(b) motion, and even “where the Rule 60 motion is filed more than [now 28 days]

following judgment.” See Fed. R. App. P. 4(a)(4)(A; see also Stone, 514 U.S. 386, at 401. Plaintiffs have

done just that, filing the Rule 60(b) Motion directly with the district court and timely filing the notice

of appeal. Read together, according to the applicable Supreme Court and Sixth Circuit precedent

(including each case cited in Defendants’ response), as well as the Federal Rules, this Court retains

discretion to enter an order indicating an intent to grant the Motion so that the Sixth Circuit may

remand the case to the district court. Accordingly, Defendants’ argument that the Court should deny

the Motion for lack of jurisdiction is without merit.

        II.     Plaintiffs Meet the Requirements Under Rule 60(b)(2) to Obtain Judgment
                from Final Relief

        The Motion details Plaintiffs’ newly discovered evidence, establishing that it readily meets the

requirements for obtaining relief under Rule 60(b)(2), as the new evidence: (1) could not have been

discovered with reasonable diligence in time to move for a new trial; (2) is material and would have

resulted in a different outcome had it been presented to the Court prior to the April 28, 2022 hearing;


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  Defendants also assert that, because Plaintiffs filed the 60(b) Motion over 28 days after the Court
entered its final judgment, Plaintiffs’ appeal should not be “held in abeyance” pursuant to FRAP
4(a)(4). See Def. Opp., ECF No. 48, at 6 (pointing out that the Sixth Circuit issued an order on July 5,
2022, stating that the case was inadvertently docketed under FRAP 4(a)(4)). Plaintiffs do not dispute
that filing a Rule 60(b) motion triggers abeyance only “if the motion is filed no later than 28 days after
the judgment is entered.” Fed. R. App. P. 4(a)(4)(A)(vi). Certainly, had Plaintiffs filed the Motion
within that timeframe, that would have tolled Plaintiffs’ time to file an appeal. However, given
Plaintiffs’ timely filing of the notice of appeal, it is unclear what bearing Defendants’ contention has
on this Court’s jurisdiction and ability to consider the Motion.

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and (3) pertains to facts that existed at the time of the Court’s ruling on Defendants’ motion to dismiss.

See ECF No. 42 (citing Bilski v. McCarthy, 790 F. App’x 756, 765 (6th Cir. 2019) (citing Good v. Ohio

Edison Co., 149 F.3d 413, 423 (6th Cir. 1998))). Defendants’ response, however, glosses over the

underlying facts and significance of Plaintiffs’ new information, including direct evidence of the

government’s “mission” and extensive efforts to direct private tech companies, including Twitter and

other social media platforms, to combat and suppress “misinformation.” Yet this is precisely the sort

of information that this Court found lacking in the original complaint—and which remained wholly

unavailable to Plaintiffs until June 7, 2022, when a whistleblower’s disclosure revealed it.

        Furthermore, a district court recently granted a motion for expedited discovery based on the

same newly discovered evidence that Plaintiffs presented in their Motion. See Missouri v. Biden, No.

3:22-CV-01213, 2022 WL 2825846 (W.D. La. July 12, 2022) (granting discovery request for

preliminary injunction motion). Significantly, the Missouri motion for expedited discovery was filed

on June 14, 2022 and contained the new information put forth in Plaintiffs’ Motion, which was

unavailable to them prior to entry of the Court’s May 5, 2022 order dismissing and closing the case.

See id., ECF No. 30, at 7 (distinguishing case from Changizi and others because “[t]hese cases were

filed long before most of the States’ evidence of a massive federal censorship program became publicly

available, and thus they were based on much less extensive allegations of federal censorship activity

and joint action, collusion, and coercion.”).

        Defendants contend that Plaintiffs’ new evidence would not have resulted in a different

outcome had it been presented to the Court prior to its original judgment. Indeed, according to

Defendants, the new evidence merely shows that DHS “engaged in general anti-misinformation

efforts comparable to those of the Surgeon General,” and thus, they claim, it fails to establish that

Plaintiffs have standing. Def. Opp., ECF No. 48, at 7. But the new information includes ample

evidence of DHS’s coercive actions, undue influence on private third parties, and myriad efforts taken

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to secretly coordinate the censorship of constitutionally protected speech through private entities.

Such evidence plainly substantiates he allegations from the original Complaint regarding the Surgeon

General’s tweets, public comments and Request for Information (RFI).

       Specifically, Defendants argue that the new evidence adds nothing to Plaintiffs’ complaint that

would “cure [its] deficiencies” in terms of showing causation. They maintain that Plaintiffs still have

not demonstrated their injuries are traceable to Defendants’ actions, rather than to Twitter’s

“independent” and “voluntary” decisions. See id., at 7-8. Defendants, however, starkly mischaracterize

the new evidence, which fortifies Plaintiffs’ complaint on each of those fronts. First, the evidence

extensively details DHS’s frequent communications, meetings, and collusion with Twitter to

coordinate the censorship of views that the government has deemed dangerous. This demonstrates that

Twitter’s mounting censorship of protected speech—speech which, not coincidentally, counters the

government’s viewpoint—is not the product of “independent, discretionary judgments,” as

Defendants claim. Additionally, Plaintiffs’ new evidence includes documentation and details regarding

the formation of the “Disinformation Governance Board” (“DGB”) within DHS, how DHS created

the DGB and tasked it with stopping the spread of misinformation—barely veiled code for

censorship—through partnership with private companies, including social media platforms, and how

DHS held meetings in secret with Twitter executives to discuss the operationalizing of public-private

partnerships between DHS and Twitter, including using Twitter, specifically, to combat

misinformation.

       The extraordinary level of collaboration and collusion between DHS and a private company—

all for the purpose of constructing a censorship apparatus to suppress the protected speech of

Americans—is more than sufficient to show that Twitter’s past and ongoing censorship of its users




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are not independent, voluntary actions.2 Private parties that are “jointly engaged with state officials in

[a] prohibited action are acting ‘under color’ of law … It is enough that [the private party] is a willful

participant in joint activity with the State or its agents.” Lugar v. Edmondson Oil Co., 457 U.S. 922, 941–

942 (1982). The claim that these documents reveal a willingness on the part of technology companies

to work with the government and accomplish its aims, and is thereby lawful, should be rejected. The

inherent power imbalance renders this argument inapposite, in that the government can penalize

uncooperative companies (and has explicitly stated an intent to do so). At the very least, the question

is one of fact for a jury to determine. Thus, Plaintiffs’ newly discovered information, which provides

extensive evidence of DHS and Twitter’s collusive activities in furtherance of speech suppression,

goes to the heart of the causation issue and directly contradicts Defendants’ claims that Plaintiffs failed

to establish a causal link between the federal government’s campaign and their censorship on social

media.

         Indeed, in Missouri, the district court concluded that the traceability component of the standing

inquiry had been “easily met” as Defendants had coerced and colluded with private third parties to

censor “disfavored speakers, viewpoints, and content.” Id. at 5-6 (Plaintiffs had standing on grounds

that “the alleged injuries are ‘imminent’ and allegedly ‘on-going,’ due to allegations of social media

suspensions, removals of disfavored viewpoints, and censorship.”). The district court there also

noted—contrary to Defendants’ contention—that the plaintiffs met the redressability element of

standing, as putting an end to the “alleged suppression of supposed disfavored speakers, viewpoints,

and content would address Plaintiff States’ alleged injuries.” Id., at 6. This case, being virtually identical




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  New emails made public just yesterday establish that CDC officials regularly communicated with
personnel at Twitter, Facebook, and Google to censor “vaccine misinformation,” including CDC’s
flagging specific posts and setting up meetings to instruct tech companies on how best to police
“misinformation.”      Available at https://freebeacon.com/wp-content/uploads/2022/07/CDC-
Emails-to-Big-Tech.pdf.
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in relevant respects, should compel the same conclusion. In short, Plaintiffs’ new evidence offers, in

spades, proof of collusion, coercion, correspondence, and joint action between DHS and Twitter that

supplies grounds for granting their Rule 60(b) Motion.

                                             CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant the Motion for

Relief from Judgment, vacate the Order, and allow Plaintiffs to proceed with this action.

Dated: July 28, 2022                           Respectfully,




                                               /s/Jenin Younes__________
                                               Jenin Younes (pro hac vice)
                                               John J. Vecchione (pro hac vice)

                                               NEW CIVIL LIBERTIES ALLIANCE
                                               1225 19th Street NW, Suite 450
                                               Washington, DC 20036
                                               (202) 869-5210
                                               Jenin.younes@ncla.legal

                                               /s/Angela Lavin___________
                                               Angela M. Lavin (0069604)
                                               Jay R. Carson (0068526)
                                               Local Counsel
                                               WEGMANHESSLER
                                               6055 Rockside Woods Boulevard North
                                               Suite 200
                                               Cleveland, Ohio 44131
                                               Telephone: (216) 642-3342
                                               Facsimile: (216) 642-8826
                                               AMlavin@wegmanlaw.com

                                               Attorneys for Plaintiffs




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